           Case 5:21-cv-00844-XR Document 68-1 Filed 10/25/21 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,        §
              Plaintiffs,                  §
                                           §          Civil No. 5:21-cv-844-XR
      v.                                   §
                                           §
GREGORY W. ABBOTT, et al.,                 §
             Defendants.                   §

OCA-GREATER HOUSTON, et al.,               §
             Plaintiffs,                   §
                                           §          Civil No. 1:21-cv-0780-XR
      v.                                   §
                                           §
JOSE A. ESPARZA, et al.,                   §
              Defendants.                  §

HOUSTON JUSTICE, et al.,                   §
             Plaintiffs,                   §
                                           §          Civil No. 5:21-cv-0848-XR
      v.                                   §
                                           §
GREGORY WAYNE ABBOTT, et al.,              §
           Defendants.                     §

TEXAS LULAC, et al.,                       §
              Plaintiffs,                  §
                                           §          Civil No. 1:21-cv-0786-XR
      v.                                   §
                                           §
JOSE ESPARZA, et al.,                      §
               Defendants.                 §

MI FAMILIA VOTA, et al.,                   §
              Plaintiffs,                  §
                                           §          Civil No. 5:21-cv-0920-XR
      v.                                   §
                                           §
GREGORY ABBOTT, et al.,                    §
            Defendants.                    §


    [PROPOSED] ORDER GRANTING LUPE C. TORRES’ MOTION TO DISMISS
         Case 5:21-cv-00844-XR Document 68-1 Filed 10/25/21 Page 2 of 2




       Before the Court is Defendant Lupe C. Torres’ Motion to Dismiss. Having considered the

Motion, the responses and any reply thereto, the Court is of the opinion that the Motion should be

GRANTED.

       IT IS THEREFORE ORDERED that Defendant Lupe C. Torres, as Medina County

Elections Administrator’s Motion to Dismiss is hereby GRANTED.

       SIGNED this ______ day of October, 2021.

                                                    ____________________________________
                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE




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